                          1:17-cv-01057-CSB # 32          Page 1 of 3
                                                                                                   E-FILED
                                                                          Friday, 28 July, 2017 03:36:54 PM
                                                                              Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS

CESAR DE LA GARZA,                                          )
                                                            )
                      Plaintiff,                            )
                                                            )        Case No. 17-CV-1057
       vs.                                                  )
                                                            )           JURY DEMAND
JOHN BALDWIN, et al.,                                       )
                                                            )
                      Defendants.                           )

                         ANSWER AND AFFIRMATIVE DEFENSES

       NOW COME Defendants, RANDY PFISTER, TAVIES BAYLER, KRISTINA SKEENS,

KEVIN EDENS, SPRING RICE, MARY RICHARD, RICK MEDEARIS, MINDY HEDRICK, JON

WILSON, and CHRISTOPHER FORBES, by and through their attorney, LISA MADIGAN,

Illinois Attorney General, and pursuant to the Court’s Merit Review Order of May 19, 2017

(Doc. 10), provides the following Answer and Affirmative Defenses to Plaintiff’s Amended

Complaint, (Doc. 11), stating as follows:

   ALLEGATIONS ENUMERATED IN COURT ORDER DATED MAY 19, 2017 (DOC. 10)

   1. Pursuant to its merit review of the Plaintiff’s Complaint under 28 U.S.C. § 1915(A), the

Court found that Plaintiff stated a First Amendment claim for denial of access to the courts

against Defendants, PFISTER, BAYLER, SKEENS, EDENS, RICE, RICHARD, MEDEARIS,

HEDRICK, WILSON, and FORBES.

   ANSWER: Defendants admit that the complaint states a claim under 42 U. S. C. § 1983, but

deny that any violation of Plaintiff's First Amendment rights or any other constitutional rights

occurred.
                           1:17-cv-01057-CSB # 32            Page 2 of 3



                                      REQUESTED RELIEF

       1. Defendants deny that Plaintiff is entitled to compensatory damages.

       2. Defendants deny that Plaintiff is entitled to punitive damages.

       3. Defendants deny that Plaintiff is entitled to any other relief.

                                         JURY DEMAND

       Defendants respectfully request trial by jury.

                                   AFFIRMATIVE DEFENSES

       1. Qualified Immunity

       At all times relevant herein, Defendants acted in good faith in the performance of their

official duties and without violating Plaintiff’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendants are therefore protected

from suit by the doctrine of qualified immunity.

       2. Sovereign Immunity

       To the extent that Plaintiff has sued Defendants in their official capacity, Plaintiff’s suit is

barred under the Eleventh Amendment by sovereign immunity.

       WHEREFORE, Defendants request that this Honorable Court enter judgment in their

favor and against Plaintiff, CESAR DE LA GARZA.

 Dated: July 28, 2017                            Respectfully submitted,

 Lisa Madigan
 Attorney General of the State of Illinois       By:    s/ Alan Remy Taborga
 Counsel for Defendant,                                 Alan Remy Taborga
 RANDY PFISTER, TAVIES BAYLER,                          Assistant Attorney General
 KRISTINA SKEENS, KEVIN EDENS,                          Office of the Illinois Attorney General
 SPRING RICE, MARY RICHARD, RICK                        1776 East Washington Street
 MEDEARIS, MINDY HEDRICK, JON                           Urbana, Illinois 61802
 WILSON, and CHRISTOPHER FORBES                         Phone: (217) 278-3332
                                                        E-Mail: ATaborga@atg.state.il.us




                                                  2
                             1:17-cv-01057-CSB # 32        Page 3 of 3



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS


CESAR DE LA GARZA,                                             )
                                                               )
                         Plaintiff,                            )
                                                               )          Case No. 17-CV-1057
       vs.                                                     )
                                                               )
JOHN BALDWIN, et al.,                                          )
                                                               )
                         Defendants.                           )

       I hereby certify that on July 28, 2017, I electronically filed the foregoing, Answer and

Affirmative Defenses to Plaintiff’s Complaint, with the Clerk of Court using the CM/ECF

system, and I hereby certify that on that same date, I caused a copy of same to be mailed by

United States Postal Service, in an envelope fully prepaid and properly addressed, to the

following participant:

                         Cesar De La Garza, # M-50534,
                         Pontiac Correctional Center
                         Inmate Mail/Parcels
                         P.O. Box 99
                         Pontiac, IL 61764

                                                         Respectfully submitted,


                                                         By:       s/ Alan Remy Taborga
                                                                   Alan Remy Taborga
                                                                   Assistant Attorney General
                                                                   Office of the Illinois Attorney General
                                                                   1776 East Washington Street
                                                                   Urbana, Illinois 61802
                                                                   Phone: (217) 278-3332
                                                                   E-Mail: ATaborga@atg.state.il.us




                                                3
